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 Counsel to Virginia Conservation Legacy Fund, Inc.
 and ERP Compliant Fuels, LLC

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

 In re:                                                Chapter 11

 PATRIOT COAL CORPORATION, et al.,                     Case No. 15-32450 (KLP)

                      Debtors.                         Jointly Administered


 BLACK DIAMOND COMMERCIAL FINANCE,
 LLC,

                      Plaintiff,

               -against-

 VIRGINIA CONSERVATION LEGACY FUND,
 INC. and ERP COMPLIANT FUELS, LLC,                    Adv. Proc. No. 16-03105
                                                       (KLP)
                      Defendants.



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 VIRGINIA CONSERVATION LEGACY FUND,
 INC. and ERP COMPLIANT FUELS, LLC,

                       Counterclaim-Plaintiffs,

                -against-

 BLACK DIAMOND COMMERCIAL FINANCE,
 LLC,

                       Counterclaim-Defendant.


                   VCLF’S OBJECTIONS TO THE TRIAL EXHIBITS OF
                    BLACK DIAMOND COMMERCIAL FINANCE, LLC

        Pursuant to Rule 26(a)(3)(B) of the Federal Rules of Civil Procedure (as made

 applicable herein by Rule 7026 of the Federal Rules of Bankruptcy Procedure), and in

 accordance with paragraph 4 of the Final Pretrial Conference Order (ECF Doc. No. 258)

 Virginia Conservation Legacy Fund, Inc. and ERP Compliant Fuels, LLC (collectively,

 “VCLF”) herewith submit their objections, together with the grounds thereof, to the

 proposed exhibits identified by Black Diamond Commercial Finance, LLC (“Black

 Diamond”) on its trial exhibits list (ECF Doc. No. 272).

        Pursuant to Federal Rule of Civil Procedure 26(a)(3)(B), VCLF reserves its

 objections to Black Diamond’s proposed trial exhibits under Federal Rule of Evidence

 402 or 402, all of which are expressly preserved.

  Exhibit                   Description                  VCLF’s           BegBates and
   No.                                               Objections Other      EndBates
                                                     than FRE 402 or
                                                       403 (Yes/No)
  1          Draft Valuation of Patriot Coal         No                 BDCF-00007688 -
             Services LLC Black Lung                                    BDCF-00007751
             Liabilities as of December 31,
             2013, dated January 17, 2014
  2          Oliver Wyman, Actuarial                 No                 BDCF-00007341 -
             Evaluation of Workers’                                     BDCF-00007532


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  Exhibit              Description                     VCLF’s          BegBates and
   No.                                             Objections Other     EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
            Compensation Liability as of
            September 30, 2013, December 19,
            2013 and December 31, 2013 for
            Midwest - Patriot Coal, dated
            January 30, 2014
 3          Oliver Wyman, Actuarial                No                 BDCF-00007873 -
            Evaluation of Workers’                                    BDCF-00008166
            Compensation Liability as of
            September 30, 2013, December 18,
            2013 and December 31, 2013 for
            West Virginia - Patriot Coal, dated
            January 30, 2014
 4          10/23/2015 Email from P. Potter to     No                 VCLF-00183073 -
            T. Clarke and others                                      VCLF-00183075
 5          Oliver Wyman, Actuarial                No                 BDCF-00000038 -
            Evaluation of Workers’                                    BDCF-00000225
            Compensation Liability as of
            September 30, 2014 and December
            31, 2014 for Midwest - Patriot
            Coal, dated January 20, 2015
 6          Oliver Wyman, Actuarial                No                 BDCF-00000226 -
            Evaluation of Workers’                                    BDCF-00000517
            Compensation Liability as of
            September 30, 2014 and December
            31, 2014 for West Virginia - Patriot
            Coal, dated January 20, 2015
 7          Draft Valuation of Patriot Coal        No                 BDCF-00000520 -
            Services LLC Black Lung                                   BDCF-00000608
            Liabilities as of December 31,
            2014, dated February 5, 2015
 8          6/10/2015 Teneo Engagement             No                 VCLF-00023305 -
            Letter                                                    VCLF-00023313
 9          6/28/2015 Dial-in appointment          No                 VCLF-00172923
 10         7/24/2015 Dial-in appointment          No                 VCLF-00173077
 11         8/4/2015 Email from B. Murphy to       No                 VCLF-00173115 -
            T. Clarke and others                                      VCLF-00173116
                                                                      VCLF-00126727 -
                                                                      VCLF-00126734




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  Exhibit              Description                    VCLF’s          BegBates and
   No.                                            Objections Other     EndBates
                                                  than FRE 402 or
                                                    403 (Yes/No)
 12         8/6/2015 Email from T. Clarke to J.   No                 VCLF-00027564 -
            McCoy and others                                         VCLF-00027568
 13         8/6/2015 Email from J. McCoy to       No
            M. Johnson re: Fwd: Proposed
            Terms of ERP Compliant Fuels,
            LLC Membership and Operating
            Agreement 8-6-2015
 14         8/14/2015 Email from B. Murphy        No                 VCLF-00173139 -
            to T. Clarke                                             VCLF-00173142
 15         Asset Purchase Agreement, dated       No
            August 16, 2015
 16         8/24/2015 Email from B. Murphy        No                 TEN0013126 -
            to P. Laud                                               TEN0013130
 17         ERP Compliant Fuels, LLC              No                 BDCF-00025931 -
            presentation, dated August 27,                           BDCF-00025952
            2015
 18         9/10/2015 Email from R.               No                 PWSP-00018388 -
            Kwasteneit to P. Potter                                  PSWP-00018389
 19         9/12/2015 Email from R.               Yes: hearsay       PWSP-00018685 -
            Dombrowski to T. Clarke                                  PWSP-00018686
 20         9/15/2015 Email from J. McCoy to      No
            M. Johnson re: Proposed Terms of
            ERP Compliant Fuels, LLC
            Membership and Operating
            Agreement 8-6-2015
 21         9/15/2015 Email from J. McCoy to      No
            T. Darden re: Fwd: ERP Compliant
            Fuels Org Chart 091415
 22         9/16/2015 Email from R.               Yes: hearsay       PWSP-00022778
            Dombrowski to T. Clarke
 23         9/16/2015 Email from R.               Yes: hearsay       PWSP-00023152
            Dombrowski to T. Clarke
 24         9/17/2015 Email from R.               Yes: hearsay       PWSP-00023170 -
            Dombrowski to P. Potter                                  PWSP-00023172
 25         9/17/2015 Email from R.               Yes: hearsay       PWSP-00023175
            Dombrowski to T. Clarke
 26         9/18/2015 Email from J. McCoy to      No                 IM-00016827 -
            T. Darden                                                IM-00016828



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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 27         9/19/2015 Email from J. McCoy to     No                 IM-00016845 -
            T. Darden                                               IM-00016857
 28         9/18/2015 Email from R.              Yes: hearsay       PWSP-00023188 -
            Kwasteneit to P. Potter                                 PWSP-00023191
 29         9/18/2015 Email from J. McCoy to     No
            C. Worcester and Guy re: new US
            coal opportunity
 30         9/18/2015 Email from J. McCoy to     No                 (IM0202)
            R. McCormick re: TN Met Coal
            Project
 31         9/18/2015 Email from J. McCoy to     No                 (IM0203)
            A. Qalbani re: patriot deal
 32         9/19/2015 Email from P. Potter to    Yes: hearsay       PWSP-00024359 -
            S. Levine                                               PWSP-00024361
 33         9/20/2015 Email from R. Ehrlich to   No                 BDCF-00018511
            S. Deckoff and others
 34         9/20/2015 Email from R. Ehrlich to   No                 BDCF-00018548 -
            T. Clarke                                               BDCF-00018559
 35         9/20/2015 Email from R. Lattouf to   No                 BDCF-00018560
            R. Ehrlich
 36         9/20/2015 Draft Commitment           No                 BDCF-00020504 -
            Letter                                                  BDCF-00020508
 37         9/20/2015 Email from R. Ehrlich to   No                 BDCF-00082485
            R. Silverman and others
 38         9/20/2015 Email from A. Harris to    No                 SRZ-00000034
            P. Potter
 39         9/20/2015 Email from B. Murphy       No                 TEN0019455 -
            to K. Miller                                            TEN0019456
 40         Commitment Letter                    No                 BDCF-00028157 -
                                                                    BDCF-00028166
 41         Motion for an Order, Pursuant to     No
            Rule 9019 of the Federal Rules of
            Bankruptcy Procedure and Section
            105(A) of the Bankruptcy Code,
            Approving Settlement Agreement
            by and Between Old Republic
            Insurance Company and the




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  Exhibit              Description                     VCLF’s          BegBates and
   No.                                             Objections Other     EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
            Debtors, In re Patriot Coal Corp.,
            Case No. 15-32450 (Dkt. No. 1350)
 42         9/21/2015 Email from J. McCoy to       No
            M. Johnson re: Tuesday
 43         9/22/2015 Email from R. Lattouf to     No                 BDCF-00020511 -
            R. Lattouf                                                BDCF-00020514
 44         9/22/2015 Email from R. Lattouf to     No                 BDCF-00020515 -
            R. Lattouf                                                BDCF-00020592
 45         9/22/2015 Email from J. McCoy to       No
            F. Wendt re: VCLF Patriot Update
            9/21/2015
 46         9/22/2015 Email from J. McCoy to       No
            T. Darden re: VCLF Patriot Update
            9/21/2015
 47         9/23/2015 Email from J. McCoy to       No
            S. Humphrey re: VCLF Patriot
            Update 9-21-2015
 48         9/25/2015 Email from J. McCoy to       No
            T. Darden re: Fwd: Patriot - ERP
            Business Plan - DRAFT FOR
            REVIEW
 49         9/26/2015 Email from P. Potter to      No                 SRZ-00000074 -
            A. Harris                                                 SRZ-00000075
 50         9/30/2015 Email from J. McCoy to       No                 (IM0342)
            V. Mutolo, K. Miller re: Fwd:
            Patriot - ERP Business Plan -
            DRAFT FOR REVIEW
 51         9/30/2015 Email from J. McCoy to       No
            K. Miller re: Patriot - ERP Business
            Plan - DRAFT FOR REVIEW
 52         10/2/2015 Email from J. McCoy to       No
            D. Williams re: Patriot Trial
 53         10/7/2015 Email from T. Clarke to      No                 BDCF-00041379 -
            R. Ehrlich                                                BDCF-00041380
 54         10/7/2015 Email from A. Troop to       No                 TEN043407
            T. Clarke
 55         10/9/2015 Email from S. Deckoff        No                 BDCF-00043975 -
            to R. Ehrlich                                             BDCF-00043976



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  Exhibit              Description                   VCLF’s           BegBates and
   No.                                           Objections Other      EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 56         10/9/2015 Email from S. Deckoff      No                 BDCF-00043994 -
            to K. McCoy                                             BDCF-00043995
 57         12/09/2015 Email from M. Collins     No                 VCLF-00013925 -
            to B. Murphy and others                                 VCLF-00013940
 58         10/10/2015 Email from J. Weiss to    Yes: hearsay,      BDCF-00044096 -
            S. Deckoff                           improper lay       BDCF-00044101
                                                 opinion
 59         10/10/2015 Email from S. Deckoff     No                 VCLF-00020195
            to K. McCoy
 60         10/11/2015 Email from B. Bennett     Yes: hearsay       KE_BD_0002557
            to T. Clarke and others
 61         Draft Amended and Restated Asset     No                 BDCF-00078414 -
            Purchase Agreement, dated                               BDCF-00078500
            10/13/2015
 62         10/13/2015 Email from P. Potter to   No                 VCLF-00174166 -
            T. Clarke                                               VCLF-00174167
 63         10/13/2015 Email from T. Clarke      No                 VCLF-00174172 -
            to P. Potter                                            VCLF-00174173
 64         10/13/2015 Email from T. Clarke      No                 VCLF-00174183 -
            to A. Troop                                             VCLF-00174186
 65         Order Approving Settlement           No
            Agreement By and Between Old
            Republic Insurance Company and
            the Debtors, In re Patriot Coal
            Corp. Case No. 15-32450 (Dkt. No.
            1640)
 66         10/14/2015 McCoy Text messages       No                 (excerpt of VCLF-
            report                                                  00123846)
 67         10/14/2015 Email from J. McCoy       No                 IM-00018626 -
            to R. Newton                                            IM-00018637
 68         10/14/2015 Email from J. McCoy       No
            to G. Chamblee re: Revised Federal
            13 Week Cash Plan 10-11-2015
 69         10/15/2015 Email from J. McCoy       No                 (IM0548)
            to M. Loreman re: Non-binding
            proposal to provide marketing
            services and inventory/receivables
            financing



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  Exhibit              Description                    VCLF’s         BegBates and
   No.                                           Objections Other     EndBates
                                                  than FRE 402 or
                                                    403 (Yes/No)
 70         10/15/2015 Email from J. Weiss to    Yes: hearsay,      BDCF-00046827 -
            R. Lattouf, R. Ehrlich               improper lay       BDCF-00046829
                                                 opinion
 71         10/15/2015 Email from R.             Yes: hearsay       KE_BD_0002522
            Dombrowski to P. Potter                                 -
                                                                    KE_BD_0002523
 72         10/15/2015 Email from F. Kwok to     No                 PWSP-00056197
            M. Mueller
 73         10/15/2015 Email from P. Potter to   No                 VCLF-00174775 -
            T. Clarke and others                                    VCLF-00176776
 74         10/15/2015 Email from D. Baxter      No                 VCLF-00174798 -
            to T. Clarke                                            VCLF-00174800
 75         10/15/2015 Email from T. Clarke      No                 VCLF-00175456 -
            to P. Potter                                            VCLF-00175457
 76         10/15/2015 Email from M.             No                 (IM0546)
            Loreman to J. McCoy re: Non-
            binding proposal to provide
            marketing services and
            inventory/receivables financing
 77         Draft Amended and Restated Asset     No                 BDCF-00050049 -
            Purchase Agreement, dated                               BDCF-00050123
            10/16/2015
 78         10/16/2015 Email from T. Clarke      No                 SRZ-00004236 -
            to P. Potter                                            SRZ-00004240
 79         10/16/2015 Email from T. Clarke      No                 VCLF-00175529 -
            to P. Potter                                            VCLF-00175531
 80         10/16/2015 Email from K. McCoy       No                 VCLF-00175574 -
            to P. Potter                                            VCLF-00175575
 81         Draft Amended and Restated Asset     No                 BDCF-00054055 -
            Purchase Agreement, dated                               BDCF-00054131
            10/19/2015
 82         10/19/2015 Email from B. Murphy      Yes: hearsay       BDCF-00054652 -
            to R. Lattouf                                           BDCF-00054653
 83         10/19/2015 Email from B. Murphy      Yes: hearsay       TEN0032007 -
            to K. McCoy                                             TEN0032013
 84         10/19/2015 Email from J. McCoy       No                 VCLF-00076894 -
            to K. McCoy and others                                  VCLF-00076898




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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 85         10/19/2015 Email from M.             No
            Loreman to J. McCoy re: Non-
            binding proposal to provide
            marketing services and
            inventory/receivables financing
 86         10/19/2015 Email from J. McCoy       No
            to D. Turner re: mining complex
            org chart
 87         10/19/2015 Email from J. McCoy       No                 (IM0628)
            to K. McCoy, T. Clarke re: Non-
            binding proposal to provide
            marketing services and
            inventory/receivables financing
 88         Draft Amended and Restated Asset     No                 BDCF-00062842 -
            Purchase Agreement, dated                               BDCF-00062916
            10/20/2015
 89         Draft Amended and Restated Asset     No                 BDCF-00066943 -
            Purchase Agreement, dated                               BDCF-00067019
            10/20/2015
 90         10/23/2015 Email from R. Ehrlich     No                 BDCF-00082513 -
            to H. Gravenhorst                                       BDCF-00082515
 91         10/20/2015 Email from P. Potter to   No                 IM-00011856 -
            R. Kwasteneit                                           IM-00011857
 92         10/20/2015 Email from R.             Yes: hearsay       PWSP-00062344 -
            Dombrowski to P. Potter                                 PWSP-00062368
 93         10/20/2015 Email from Z.             Yes: hearsay       TEN0028572 -
            Messenger to R. Ehrlich                                 TEN0028573
 94         10/20/2015 Email from Z.             Yes: hearsay       TEN0032393
            Messenger to B. Murphy
 95         10/20/2015 Appointment re:           No                 VCLF-00177668
            Patriot/VCLF: A&R Asset
            Purchase Agreement
 96         10/21/2015 Email from A. Harris to   No                 BDCF-00066686 -
            P. Potter                                               BDCF-00066691
 97         10/21/2015 Email from P. Potter to   No                 PWSP-00063467 -
            D. Baxter and others                                    PWSP-00063472
 98         10/21/2015 Email from A. Harris to   No                 PWSP-00065859 -
            P. Potter                                               PWSP-00065862



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  Exhibit             Description                    VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 99         10/21/2015 Email from A. Harris to No                   SRZ-00011141 -
            D. Baxter, E. Monahan                                   SRZ-00011145
 100        10/21/2015 Email from B. Murphy No                      TEN0028618 -
            to R. Ehrlich                                           TEN0028620
 101        10/22/2015 Email from B. Murphy No                      BDCF-00076221 -
            to R. Lattouf                                           BDCF-00076224
 102        10/22/2015 Email from B. Murphy Yes: hearsay            TEN0028675 -
            to J. Kucish and others                                 TEN0028681
 103        10/22/2015 Email from B. Murphy No                      TEN0028715
            to T. Clarke
 104        10/22/2015 Email from Z.             No                 TEN0032566 -
            Messenger to B. Murphy                                  TEN0032567
 105        10/22/2015 Email from Z.             No                 TEN0032568 -
            Messenger to B. Murphy                                  TEN0032569
 106        10/22/2015 Email from P. Potter to No                   VCLF-00182731 -
            C. Mirick and others                                    VCLF-00182732
 107        10/22/2015 Email from P. Potter to No                   VCLF-00182833 -
            T. Clarke                                               VCLF-00182835
 108        10/22/2015 Email from B. Murphy No                      VCLF-00182954
            to T. Clarke
 109        10/23/2015 Email from T. Clarke      No                 BDCF-00076276 -
            to R. Ehrlich                                           BDCF-00076278
 110        10/23/2015 Email from T. Clarke      No                 BDCF-00076285 -
            to J. Fontana, R. Ehrlich and others                    BDCF-00076287
 111        10/23/2015 Email from H.             No                 BDCF-00076338 -
            Gravenhorst to T. Clarke                                BDCF-00076340
 112        10/23/2015 Email from D. Baxter      No                 BDCF-00076344 -
            to M. Collins and others                                BDCF-00076345
 113        10/23/2015 Email from H.             No                 BDCF-00076458 -
            Gravenhorst to T. Clarke                                BDCF-00076460
 114        10/23/2015 Email from B. Murphy Yes: hearsay            BDCF-00076464 -
            to P. Potter and others                                 BDCF-00076467
 115        10/23/2015 Email from H.             No                 BDCF-00076502 -
            Gravenhorst to T. Clarke                                BDCF-00076504
 116        10/23/2015 Email from H.             No                 BDCF-00076508 -
            Gravenhorst to T. Clarke                                BDCF-00076510




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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 117        10/23/2015 Email from H.             No                 BDCF-00076511 -
            Gravenhorst to T. Clarke                                BDCF-00076513
 118        10/23/2015 Email from R. Lattouf     No                 BDCF-00076597 -
            to Z. Messenger                                         BDCF-00076598
 119        10/23/2015 Email from R. Ehrlich     No                 BDCF-00082510 -
            to H. Gravenhorst                                       BDCF-00082512
 120        10/23/2015 Email from R. Ehrlich     No                 BDCF-00082516 -
            to H. Gravenhorst                                       BDCF-00082518
 121        10/23/2015 Email from R. Ehrlich     No                 BDCF-00082519 -
            to H. Gravenhorst                                       BDCF-00082521
 122        10/23/2015 Email from R. Ehrlich     No                 BDCF-00082522 -
            to H. Gravenhorst                                       BDCF-00082524
 123        10/23/2015 Email from R. Ehrlich     No                 BDCF-00082525 -
            to H. Gravenhorst                                       BDCF-00082528
 124        10/23/2015 Email from P. Potter to   No                 KE_BD_0002431
            R. Kwasteneit
 125        10/23/2015 Email from T. Clarke      No                 TEN0028733 -
            to J. Fontana and others                                TEN0028737
 126        10/23/2015 Email from J. McCoy       No                 TEN0032586
            to M. Loreman
 127        10/23/2015 Email from Z.             Yes: hearsay       TEN0032589
            Messenger to B. Murphy
 128        10/23/2015 Email from Z.             Yes: hearsay       TEN0032594 -
            Messenger to B. Murphy                                  TEN0032595
 129        10/23/2015 Email from M. Madden      No                 TEN0032607 -
            to B. Murphy                                            TEN0032608
 130        10/23/2015 Email from J. DeKoe to    Yes: hearsay       TEN0032635
            B. Murphy
 131        10/23/2015 Email from Z.             Yes: hearsay       VCLF-00086293 -
            Messenger to T. Clarke                                  VCLF-00086294
 132        10/23/2015 Email from Z.             Yes: hearsay       VCLF-00086685 -
            Messenger to T. Clarke                                  VCLF-00086686
 133        10/23/2015 Email from T. Clarke      No                 VCLF-00087583 -
            to K. McCoy and others                                  VCLF-00087584
 134        10/23/2015 Email from K. McCoy       No                 VCLF-00087672 -
            to J. McCoy                                             VCLF-00087673




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  Exhibit              Description                     VCLF’s          BegBates and
   No.                                             Objections Other     EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
 135        10/23/2015 Email from T. Clarke        No                 VCLF-00087800 -
            to P. Potter and others                                   VCLF-00087801
 136        10/23/2015 Email from B. Murphy        No                 VCLF-00087804 -
            to P. Potter and others                                   VCLF-00087807
 137        10/23/2015 Email from M.               No                 VCLF-00088150
            Loreman to M. Collins
 138        10/23/2015 Email from T. Clarke        No                 VCLF-00182964 -
            to P. Potter                                              VCLF-00182966
 139        10/23/2015 Dial-in appointment         No                 VCLF-00183016
 140        10/23/2015 Email from P. Potter to     No                 VCLF-00183080 -
            T. Clarke and others                                      VCLF-00183082
 141        10/23/2015 Email from K. McCoy         No                 VCLF-00183194
            to P. Potter
 142        10/23/2015 Email from P. Potter to     No                 VCLF-00183195
            K. McCoy
 143        10/23/2015 Email from K. McCoy         No                 VCLF-00183196
            to P. Potter
 144        10/23/2015 Email from M. Collins       No                 (IM0691)
            to J. McCoy re: Message from Tom
 145        10/23/2015 Email from M.               No
            Loreman to J. McCoy re: call
 146        10/23/2015 Email from J. McCoy         No
            to S. Mundra, G. Chandak re: Non-
            binding proposal to provide
            marketing services and
            inventory/receivables financing
 147        10/23/2015 Email from A. Rosen to      No
            S. Levine, G. Crandall re: Patriot -
            confidential privileged work
            product
 148        10/23/2015 Email from R. Ehrlich       No
            to H. Gravenhorst re: FW:
            Summary of ERP Facilities
 149        10/23/2015 Email from R. Ehrlich       No
            to H. Gravenhorst re: Summary of
            ERP Facilities




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  Exhibit              Description                  VCLF’s          BegBates and
   No.                                          Objections Other     EndBates
                                                than FRE 402 or
                                                  403 (Yes/No)
 150        10/23/2015 Email from H.            No                 BDCF-00076338 -
            Gravenhorst to T. Clarke re:                           BDCF-00076340
            Summary of ERP Facilities
 151        10/23/2015 Email from M.            No
            Loreman to J. McCoy re: Fw: call
 152        10/23/2015 Email from J. McCoy      No
            to M. Collins re: Message from
            Tom
 153        10/23/2015 Email from J. McCoy      No
            to V. Mutolo re: United
 154        10/23/2015 Email from R. Ehrlich    No
            to H. Gravenhorst re: Summary of
            ERP Facilities
 155        10/23/2015 Email from J. McCoy      No                 (IM0707)
            to S. Mundra, G. Chandak re: Non-
            binding proposal to provide
            marketing services and
            inventory/receivables financing
 156        10/23/2015 Email from M.            No                 (IM0699)
            Loreman to J. McCoy re: Fw: call
 157        10/24/2015 Email from S. Deckoff    No                 BDCF-00077192
            to R. Ehrlich
 158        10/24/2015 Email from R. Ehrlich    No                 BDCF-00077196
            to T. Clarke
 159        10/24/2015 Email from S. Deckoff    No                 BDCF-00082156
            to M. Moreno
 160        10/24/2015 Email from B. Murphy     Yes: hearsay       CENTERVIEW_
            to S. Bremer                                           BD_0001662
 161        10/24/2015 Email from S. Bremer     Yes: hearsay       CENTERVIEW_
            to B. Murphy                                           BD_0001664
 162        10/24/2015 Email from T. Clarke     No                 TEN0032667 -
            to K. McCoy                                            TEN0032670
 163        10/24/2015 Email from B. Bennett    Yes: hearsay       TEN0032673 -
            to B. Murphy                                           TEN0032674
 164        10/24/2015 Email from B. Bennett    Yes: hearsay       VCLF-00088306 -
            to B. Murphy                                           VCLF-00088307
 165        10/24/2015 Email from R. Ehrlich    No                 VCLF-00088391
            to T. Clarke



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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 166        10/24/2015 Email from R. Ehrlich     No                 VCLF-00088393
            to T. Clarke
 167        10/24/2015 Email from B. Murphy      Yes: hearsay       VCLF-00173673
            to Patriot Coal and others
 168        10/24/2015 Email from B. Murphy      Yes: hearsay       VCLF-00174043 -
            to T. Clarke                                            VCLF-00174045
 169        10/24/2015 Email from K. McCoy       No                 VCLF-00183280 -
            to P. Potter and others                                 VCLF-00183283
 170        10/24/2015 Email from B. Murphy      Yes: hearsay       VCLF-00183302 -
            to K. McCoy and others                                  VCLF-00183307
 171        10/24/2015 Email from B. Murphy      Yes: hearsay       VCLF-00183335 -
            to D. Baxter and others                                 VCLF-00183341
 172        10/24/2015 Email from A. Troop to    Yes: hearsay       VCLF-00183378 -
            T. Clarke                                               VCLF-00183385
 173        10/24/2015 Email from D. Baxter      Yes: hearsay       VCLF-00183386 -
            to T. Clarke                                            VCLF-00183393
 174        10/24/2015 Email from B. Murphy      Yes: hearsay       VCLF-00183409 -
            to A. Troop and others                                  VCLF-00183410
 175        10/24/2015 Email from P. Potter to   Yes: hearsay       VCLF-00183413 -
            A. Troop and others                                     VCLF-00183414
 176        10/24/2015 Email from T. Clarke      No                 VCLF-00183565 -
            to P. Potter                                            VCLF-00183568
 177        10/24/2015 Email from S. Bremer      Yes: hearsay       CENTERVIEW_
            to B. Murphy                                            B D_0001664
 178        10/25/2015 Email from R. Ehrlich     No                 BDCF-00077216 -
            to S. Deckoff                                           BDCF-00077218
 179        10/25/2015 Email from A. Harris to   No                 BDCF-00077252 -
            P. Potter                                               BDCF-00077253
 180        10/25/2015 Email from P. Potter to   No                 BDCF-00077254 -
            A. Harris                                               BDCF-00077263
 181        10/25/2015 Email from A. Harris to   No                 BDCF-00077290 -
            P. Potter                                               BDCF-00077293
 182        10/29/2015 Email from P. Potter to   No                 BDCF-00077403 -
            A. Harris                                               BDCF-00077404
 183        10/24/2015 Email from P. Keary to    No                 TEN0032686
            B. Murphy




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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 184        10/25/2015 Investment                No                 VCLF-00090077
            Memorandum from G. Chandak to
            ERP Complaint Fuels, LLC
 185        10/25/2015 Investment                No                 VCLF-00154825
            Memorandum from G. Chandak to
            ERP Complaint Fuels, LLC
 186        10/24/2015 Email from P. Potter to   No                 VCLF-00183514 -
            T. Clarke and others                                    VCLF-00183518
 187        10/25/2015 Email from P. Potter to   No                 VCLF-00183526 -
            T. Clarke                                               VCLF-00183527
 188        10/25/2015 Email from T. Clarke      No                 VCLF-00183538 -
            to P. Potter                                            VCLF-00183540
 189        10/25/2015 Email from P. Potter to   No                 VCLF-00183544 -
            T. Clarke                                               VCLF-00183546
 190        10/25/2015 Email from P. Potter to   No                 VCLF-00183547 -
            T. Clarke                                               VCLF-00183549
 191        10/25/2015 Email from P. Potter to   No                 VCLF-00183554 -
            T. Clarke                                               VCLF-00183556
 192        10/25/2015 Email from T. Clarke      No                 VCLF-00183573 -
            to P. Potter                                            VCLF-00183574
 193        10/25/2015 Email from P. Potter to   No                 VCLF-00183615 -
            T. Clarke                                               VCLF-00183620
 194        10/25/2015 Email from T. Clarke      No                 VCLF-00183651 -
            to P. Potter                                            VCLF-00183657
 195        10/25/2015 Email from W. Sullivan    No                 VCLF-00183705 -
            to A. Troop                                             VCLF-00183707
 196        10/25/2015 Email from P. Potter to   No                 VCLF-00183759 -
            A. Troop and others                                     VCLF-00183760
 197        10/25/2015 Email from C. Mirick      No                 VCLF-00183777 -
            to P. Potter and others                                 VCLF-00183778
 198        10/25/2015 Email from P. Potter to   No                 VCLF-00183900 -
            C. Mirick, D. Baxter                                    VCLF-00183904
 199        10/25/2015 Email from P. Potter to   No                 VCLF-00183962 -
            T. Clarke, K. McCoy                                     VCLF-00183963
 200        10/26/2015 Email from T. Clarke      No                 IM-00029415 -
            to G. Chandak                                           IM-00029433
 201        10/26/2015 Email from D. Baxter      No                 PWSP-00075733 -
            to S. Levine and others                                 PWSP-00075735


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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 202        10/26/2015 Email from T. Clarke      No                 VCLF-00090663 -
            to _Print Box                                           VCLF-00090702
 203        10/26/2015 Email from J. McCoy       No                 VCLF-00090777 -
            to M. Collins                                           VCLF-00090778
 204        10/26/2015 Email from M. Collins     No                 VCLF-00090780 -
            to K. McCoy and others                                  VCLF-00090820
 205        10/26/2015 Email from S. Levine      Yes: hearsay       VCLF-00092244 -
            to B. Murphy and others                                 VCLF-00092246
 206        10/26/2015 Email from P. Potter to   No                 VCLF-00185523 -
            C. Mirick and others                                    VCLF-00185526
 207        10/26/2015 Email from T. Clarke      No                 VCLF-00187508
            to J. McCoy
 208        10/26/2015 Email from B. Murphy      Yes: hearsay       VCLF-00187568 -
            to D. Baxter                                            VCLF-00187571
 209        10/26/2015 Email from J. McCoy       No
            to sm@mundraholdings.com re:
            Fwd: Chandak Agreement
 210        10/26/2015 Email from G. Chandak     No
            to S. Mundra re: Fwd: Chandak
            Agreement
 211        10/25/2015 Email from J. McCoy       No
            to G. Chandak and others re: Fwd:
            Patriot/VCLF: Structure Chart
 212        10/26/2015 Email from J. McCoy       No
            to G. Woodruff and others re: Fwd:
            2.5MM each guarantee
 213        10/26/2015 Email from J. McCoy       No
            to G. Woodruff and others re: Fwd:
            2.5MM each guarantee
 214        10/27/2015 Email from P. Potter to   No                 KE_BD_0002354
            R. Kwasteneit                                           -
                                                                    KE_BD_0002355
 215        Promissory Note, Earnout         No                     KE_BD_0007124
            Agreement and Security Agreement                        -
                                                                    KE_BD_0007143
 216        10/27/2015 Email from B. Murphy      Yes: hearsay       TEN0032929
            to M. Madden and others




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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 217        10/27/2015 Equity Investment         No                 TEN0048605 -
            Term Sheet                                              TEN0048608
 218        10/27/2015 Assignment and            No                 VCLF-00010900 -
            Assumption Agreement                                    VCLF-00010910
 219        10/27/2015 Email from B. Murphy      No                 VCLF-00097678
            to J. McCoy and others
 220        Final Amended and Restated Asset     No                 VCLF-00102359 -
            Purchase Agreement, dated                               VCLF-00102919
            October 27, 2015
 221        10/27/2015 Equity Investment         No                 VCLF-00160295 -
            Term Sheet                                              VCLF-00160299
 222        10/27/2015 Email from J. McCoy       No                 VCLF-00188715 -
            to T. Clarke                                            VCLF-00188721
 223        10/27/2015 Email from B. Murphy      No                 VCLF-00188734 -
            to M. McCoy, T. Clarke                                  VCLF-00188738
 224        10/27/2015 Email from J. McCoy       No
            to C. DeGiacinto re: patriot
 225        10/27/2015 Email from M. Collins     No
            to G. Chandak re: ERP Federal
            Mining Complex, LLC Wire
            Instructions
 226        10/27/2015 Email from K. Miller to   Yes: hearsay
            J. McCoy re: united
 227        10/27/2015 Email from J. McCoy       No
            to C. DeGiacinto re: we closed
 228        10/28/2015 Email from A. Harris to   No                 BDCF-00077396
            P. Potter
 229        10/28/2015 Email from B. Murphy      Yes: hearsay       PWSP-00087889 -
            to P. Potter and others                                 PWSP-00087891
 230        10/29/2015 Email from P. Potter to   No                 BDCF-00077405 -
            A. Harris                                               BDCF-00077406
 231        10/29/2015 - Email from P. Potter    No                 PWSP-00089770
            to A. Harris
 232        10/29/2015 Email from P. Potter to   No                 SRZ-00018794 -
            A. Harris                                               SRZ-00018795
 233        10/30/2015 Email from Z.             Yes: hearsay       TEN0033054
            Messenger to B. Murphy



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  Exhibit              Description                      VCLF’s            BegBates and
   No.                                             Objections Other        EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
 234        10/30/2015 Email from Z.               Yes: hearsay         TEN0033072
            Messenger to B. Murphy
 235        10/30/2015 Email from Z.               Yes: hearsay         TEN0033073 -
            Messenger to B. Murphy                                      TEN0033074
 236        11/01/2015 Email from M.               No                   VCLF-00104252
            Loreman to T. Clarke
 237        11/03/2015 Email from M. Collins       No                   VCLF-00009001 -
            to K. McCoy and others                                      VCLF-00009006
 238        11/03/2015 Email from T. Clarke        No                   VCLF-00009086
            to M. Loreman
 239        11/05/2015 Email from B. Murphy        No                   TEN0034521 -
            to A. Zweig                                                 TEN0034522
 240        11/9/2015 Email from R. Lattouf to     No                   BDCF-00077418
            R. Ehrlich
 241        9/11/2015 Email from B. Murphy         No                   TEN0018387 -
            to R. Ehrlich                                               TEN0018410
 242        11/19/2015 Hitachi Proposal            No                   VCLF-00013234 -
                                                                        VCLF-00013237
 243        11/20/2015 Letter from T. Clarke       No                   VCLF-00013214
            to B. Murphy
 244        12/14/2015 North Mill Capital LLC      No                   VCLF-00014057 -
            Proposal                                                    VCLF-00014059
 245        Oliver Wyman, Actuarial                Yes: hearsay, best
            Evaluation of Workers’                 evidence
            Compensation Liability as of
            September 30, 2015 and December
            31, 2015 for Midwest - Patriot
            Coal, dated December 22, 2015
 246        10/12/2015 text message from K.        No                   (excerpt of VCLF-
            McCoy to T. Clarke                                          00123846)
 247        10/23/2015 text message from K.        No                   (excerpt of VCLF-
            McCoy to T. Clarke                                          00123846)
 248        Oliver Wyman, Actuarial                Yes: hearsay, best
            Evaluation of Workers’                 evidence
            Compensation Liability as of
            September 30, 2015 and December
            31, 2015 for West Virginia - Patriot
            Coal, dated January 14, 2016



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  Exhibit              Description                     VCLF’s          BegBates and
   No.                                             Objections Other     EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
 249        VCLF and ERP Responses to First        No
            Set of Interrogatories, dated
            10/31/2016
 250        VCLF and ERP Responses to First        No
            Set of Requests for Admission,
            dated 10/31/2016
 251        VCLF and ERP Supplemental              No
            Interrogatory Responses to First Set
            of Interrogatories, dated
            11/21/2016
 252        Plaintiff’s Responses and              No
            Objections to
            Defendants/Counterclaim-
            Plaintiffs’ First Set of
            Interrogatories, dated 12/12/2016
 253        AT&T phone records for T. Clarke,      No
            from 10/22/2015 through
            10/25/2015
 254        [Intentionally blank]
 255        [Intentionally blank]
 256        [Intentionally blank]
 257        [Intentionally blank]
 258        [Intentionally blank]
 259        [Intentionally blank]
 260        [Intentionally blank]
 261        Expert Report of Robert K.             Yes: hearsay,
            Briscoe, WCP, dated 4/17/2018          VCLF’s Motion to
                                                   Exclude
                                                   Testimony of
                                                   Robert Briscoe
 262        Screenshots of text messages from      No                 BDCF-00082153 -
            M. Moreno to S. Deckoff                                   BDCF-00082155
 263        9/22/2015 Email from J. McCoy to       No                 (IM0238 -
            T. Darden re: Fwd: VCLF Patriot                           IM0240)
            Update 9-21-2015
 264        9/25/2015 Email from J. McCoy to       No                 (IM0288)
            T. Darden re: Fwd: Patriot - ERP




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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
            Business Plan - DRAFT FOR
            REVIEW
 265        10/14/2015 Email from J. McCoy       No                 (IM0515)
            to G. Chamblee re: Revised Federal
            13 Week Cash Plan 10-11-2105
 266        10/19/2014 Email from M.             No                 (IM0630)
            Loreman to J. McCoy re: Non-
            binding proposal to provide
            marketing services and
            inventory/receivables financing
 267        10/23/2015 Email from M. Collins     No                 (IM0691)
            to J. McCoy re: Message from Tom
 268        10/23/2015 Email from M.             No                 (IM0696)
            Loreman to J. McCoy re: call
 269        10/23/2015 Email from J. McCoy       No                 (IM0707)
            to S. Mundra, G. Chandak re: Fwd:
            Non-binding proposal to provide
            marketing services and
            inventory/receivables financing
 270        10/26/2015 Email from J. McCoy       No                 (IM0730)
            to S. Mundra re: Fwd: Chandak
            Agreement
 271        8/31/2015 Email from R. Ehrlich to   No                 BDCF-00018025 -
            S. Deckoff and others                                   BDCF-00018047
 272        9/23/2015 Email from K. McCoy to     No                 BDCF-00026071
            R. Lattouf
 273        9/23/2015 Email from G.              No                 BDCF-00027981 -
            Shertenlieb to R. Lattouf                               BDCF-00027988
 274        9/24/2015 Email from D. Tropp to     No                 BDCF-00028141 -
            R. Lattouf, M. Patrick                                  BDCF-00028150
 275        9/25/2015 Email from J. Weiss to     Yes: hearsay,      BDCF-00030053
            D. Jones and others                  improper lay
                                                 opinion
 276        9/25/2015 Email from R. Ehrlich to   No                 BDCF-00034443
            T. Clarke
 277        9/25/2015 Email from T. Clarke to    No                 BDCF-00038805 -
            R. Ehrlich                                              BDCF-00038807




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  Exhibit              Description                    VCLF’s          BegBates and
   No.                                            Objections Other     EndBates
                                                  than FRE 402 or
                                                    403 (Yes/No)
 278        9/26/2015 Email from R. Lattouf to    No                 BDCF-00038811 -
            G. Shertenlieb                                           BDCF-00038812
 279        9/26/2015 Email from R. Lattouf to    No                 BDCF-00038813 -
            D. Tropp, M. Patrick                                     BDCF-00038824
 280        9/29/2015 Notes re: Call with John    Yes: hearsay,      BDCF-00039907 -
            Weiss - John T. Boyd Company -        improper lay       BDCF-00039914
            Preliminary Diligence Takeaways       opinion
            on Federal 2 Mine
 281        9/29/2015 Email from D. Tropp to      No                 BDCF-00039968 -
            R. Lattouf, M. Patrick                                   BDCF-00039981
 282        10/9/2015 Email from K. McCoy to      No                 BDCF-00043424 -
            R. Ehrlich                                               BDCF-00043428
 283        10/16/2015 Email from Z.              Yes: hearsay       BDCF-00052217 -
            Messenger to R. Ehrlich, R. Lattouf                      BDCF-00052218
 284        10/20/2015 Email from Z.              Yes: hearsay       BDCF-00058506 -
            Messenger to R. Ehrlich and others                       BDCF-00058507
 285        10/20/2015 Email from M. Mueller      No                 BDCF-00062434 -
            to A. Harris and others                                  BDCF-00063388
 286        10/21/2015 Email from B. Murphy       No                 BDCF-00066479 -
            to R. Lattouf and others                                 BDCF-00066481
 287        10/21/2015 Email from B. Murphy       No                 BDCF-00066499 -
            to R. Ehrlich                                            BDCF-00065502
 288        10/21/2015 Email from B. Murphy       Yes: hearsay       BDCF-00066698 -
            to J. Kucish                                             BDCF-00066702
 289        10/21/2015 Email from M. Mueller      No                 BDCF-00074349 -
            to S. Hessler and others                                 BDCF-00075311
 290        10/22/2015 Email from B. Murphy       Yes: hearsay       BDCF-00075675 -
            to J. Kucish                                             BDCF-00075683
 291        10/22/2015 Email from B. Murphy       No                 BDCF-00076060 -
            to R. Lattouf and others                                 BDCF-00076062
 292        10/22/2015 Email from R. Lattouf      No                 BDCF-00076107 -
            to B. Murphy, Z. Messenger                               BDCF-00076108
 293        10/22/2015 Email from R. Lattouf      No                 BDCF-00076111 -
            to B. Murphy, Z. Messenger                               BDCF-00076112
 294        10/22/2015 Email from Z.              No                 BDCF-00076154 -
            Messenger to R. Lattouf, B.                              BDCF-00076157
            Murphy



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  Exhibit              Description                   VCLF’s            BegBates and
   No.                                           Objections Other       EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 295        10/22/2015 Email from B. Murphy      No                   BDCF-00076212 -
            to Z. Messenger, R. Lattouf                               BDCF-00076215
 296        10/24/2015 Email from R. Ehrlich     No                   BDCF-00077194
            to T. Clarke
 297        10/25/2015 Email from P. Potter to   No                   BDCF-00077219 -
            A. Harris                                                 BDCF-00077251
 298        10/25/2015 Email from P. Potter to   No                   BDCF-00077254 -
            A. Harris                                                 BDCF-00077263
 299        Screenshot of text message from S.   No                   BDCF-00077481
            Deckoff to T. Clarke
 300        R. Lattouf Hand notes                Yes: hearsay, lack   BDCF-00081969 -
                                                 of authentication    BDCF-00081996
 301        10/27/2015 Email from P. Potter to   No                   KE_BD_0007119
            R. Kwasteniet                                             -
                                                                      KE_BD_0007143
 302        10/26/2015 Email from E.             No                   PWSP-00074657 -
            Monahan to J. Pitts and others                            PWSP-00074854
 303        9/20/2015 Email from B. Murphy       No                   TEN0019465 -
            to T. Clarke                                              TEN0019467
 304        10/22/2015 Email from B. Bennett     Yes: hearsay         VCLF-00085885 -
            to T. Clarke                                              VCLF-00085889
 305        10/2015 McCoy Text messages          No                   VCLF-00123845
            report                                                    (excerpts)
 306        K. McCoy Old iPhone Report           No                   VCLF-00123846
 307        VCLF Privilege Log Excerpts          No
 308        Redline - Gravenhorst Emails -       Yes: not
            1:20 pm vs. 2:40 pm                  authenticated,
                                                 improper
                                                 demonstrative
                                                 evidence, not
                                                 produced during
                                                 discovery
 309        Redline - Gravenhorst Emails -       Yes: not
            2:04 pm vs. 2:18 pm                  authenticated,
                                                 improper
                                                 demonstrative
                                                 evidence, not




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  Exhibit             Description                   VCLF’s         BegBates and
   No.                                         Objections Other     EndBates
                                                than FRE 402 or
                                                  403 (Yes/No)
                                               produced during
                                               discovery
 310        Redline - Gravenhorst Emails       Yes: not
            10:24 am vs. 1:20 pm               authenticated,
                                               improper
                                               demonstrative
                                               evidence, not
                                               produced during
                                               discovery
 311        8/17/2015 Email from Debtwire US No                   BDCF-00011893 -
            Alert to R. Ehrlich                                   BDCF-00011894
 312        8/27/2015 Email from P. Laud to    No                 BDCF-00017930 -
            R. Ehrlich                                            BDCF-00017935
 313        9/11/2015 Email from B. Murphy     No                 BDCF-00018275 -
            to R. Ehrlich                                         BDCF-00018299
 314        9/13/2015 Email from B. Murphy     No                 BDCF-00018384 -
            to R. Ehrlich                                         BDCF-00018385
 315        9/15/2015 Email from T. Clarke to No                  BDCF-00018428
            S. Deckoff, R. Ehrlich
 316        9/17/2015 Email from B. Murphy     No                 BDCF-00018443 -
            to R. Ehrlich                                         BDCF-00018449
 317        9/19/2015 Email from T. Clarke to No                  BDCF-00018463 -
            R. Ehrlich                                            BDCF-00018465
 318        9/20/2015 Email from R. Ehrlich to No                 BDCF-00018524 -
            T. Clarke                                             BDCF-00018535
 319        9/22/2015 Email from R. Ehrlich to No                 BDCF-00024744
            M. Patrick
 320        9/28/2015 Email from R. Lattouf to No                 BDCF-00038843 -
            T. Clarke                                             BDCF-00038844
 321        9/28/2015 Email from B. Murphy     No                 BDCF-00039762 -
            to S. Bremer, K. Dutta                                BDCF-00039763
 322        10/6/2015 Email from R. Ehrlich to No                 BDCF-00041353
            T. Clarke
 323        10/8/2015 Email from A. Harris to No                  BDCF-00041445 -
            R. Ehrlich and others                                 BDCF-00041449
 324        10/9/2015 Email from R. Ehrlich to No                 BDCF-00041460
            S. Deckoff




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  Exhibit              Description                     VCLF’s         BegBates and
   No.                                            Objections Other     EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
 325        10/9/2015 Email from J. Weiss to      Yes: hearsay,      BDCF-00043990 -
            R. Ehrlich and others                 improper lay       BDCF-00043992
                                                  opinion
 326        10/12/2015 Email from P. Potter to    No                 BDCF-00044230 -
            A. Harris, R. Ehrlich                                    BDCF-00044431
 327        10/15/2015 Email from B. Murphy       No                 BDCF-00049766 -
            to R. Lattouf and others                                 BDCF-00049944
 328        10/19/2015 Email from M. Mueller      No                 BDCF-00053976 -
            to R. Ehrlich, R. Lattouf                                BDCF-00054200
 329        10/21/2015 Email from A. Harris to    No                 BDCF-00066867 -
            M. Mueller and others                                    BDCF-00067019
 330        10/21/2015 Email from P. Potter to    No                 BDCF-00075478 -
            R. Kwasteniet                                            BDCF-00075482
 331        10/22/2015 Email from R. Ehrlich      No                 BDCF-00077539
            to G. Shertenlieb
 332        9/18/2015 through 10/23/2015 text     No                 BDCF-00082141 -
            messages between T. Clarke and R.                        BDCF-00082151
            Ehrlich
 333        6/25/2015 Order (A) Approving         No
            Bidding Procedures and Bid
            Protections in Connection with the
            Sales of Certain of the Debtors’
            Assets, (B) Approving the Form
            and Manner of Notice, (C)
            Scheduling Auctions and a Sale
            Hearing, (D) Approving Procedures
            for the Assumption and
            Assignment of Contracts, and (E)
            Granting Related Relief, In re
            Patriot Coal Corp., Case No. 15-
            32450 (Dkt. No. 406)
 334        10/9/2015 Findings of Fact,           No
            Conclusions of Law and Order (I)
            Confirming the Debtors’ Fourth
            Amended Joint Plan of
            Reorganization Pursuant to Chapter
            11 of the Bankruptcy Code and (II)
            Approving the Fourth Amended
            Disclosure Statement, In re Patriot



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  Exhibit              Description                   VCLF’s          BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
            Coal Corp., Case No. 15-32450
            (Dkt. No. 1615)
 335        8/17/2015 Email from L. Thybony      No                 BDCF-00011892
            to S. Deckoff and others
 336        8/27/2015 Email from R. Ehrlich to   No                 BDCF-00017936 -
            S. Deckoff and others                                   BDCF-00017944
 337        9/13/2015 Email from S. Deckoff      No                 BDCF-00018382
            to L. Meier
 338        9/25/2015 Email from R. Ehrlich to   No                 BDCF-00030047 -
            S. Deckoff                                              BDCF-00030048
 339        9/28/2015 Email from R. Ehrlich to   No                 BDCF-00039797
            S. Deckoff and others
 340        10/9/2015 Email from S. Deckoff      No                 BDCF-00041458
            to R. Ehrlich, J. Fontana
 341        10/9/2015 Email from R. Ehrlich to   No                 BDCF-00043973 -
            S. Deckoff                                              BDCF-00043974
 342        10/9/2015 Email from R. Ehrlich to   No                 BDCF-00043981 -
            S. Deckoff                                              BDCF-00043982
 343        10/9/2015 Email from R. Ehrlich to   No                 BDCF-00044034 -
            S. Deckoff                                              BDCF-00044036
 344        10/10/2015 Email from J. Weiss to    Yes: hearsay,      BDCF-00044108 -
            S. Deckoff                           improper lay       BDCF-00044114
                                                 opinion
 345        10/10/2015 Email from R. Ehrlich     No                 BDCF-00044120 -
            to J. Fontana                                           BDCF-00044122
 346        10/11/2015 Email from R. Ehrlich     No                 BDCF-00044149
            to S. Deckoff
 347        10/23/2015 Email from R. Ehrlich     No                 BDCF-00076317 -
            to S. Deckoff and others                                BDCF-00076319
 348        10/23/2015 Email from R. Ehrlich     No                 BDCF-00076320 -
            to S. Deckoff and others                                BDCF-00076323
 349        10/24/2015 Email from R. Ehrlich     No                 BDCF-00077193
            to S. Deckoff
 350        9/23/2015 Email from R. Lattouf to   No                 VCLF-00055060 -
            K. McCoy                                                VCLF-00055061
 351        10/11/2015 Email from K. McCoy       No                 VCLF-00020278 -
            to S. Deckoff                                           VCLF-00020279



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  Exhibit              Description                    VCLF’s         BegBates and
   No.                                           Objections Other     EndBates
                                                 than FRE 402 or
                                                   403 (Yes/No)
 352        9/14/2015 Email from Z.              Yes: hearsay       TEN0018566 -
            Messenger to K. McCoy and others                        TEN0018567
 353        10/9/2015 Email from B. Murphy       Yes: hearsay       VCLF-00020154 -
            to K. McCoy and others                                  VCLF-00020155
 354        10/9/2015 Email from K. McCoy to     No                 VCLF-00020153
            R. Ehrlich and others
 355        10/12/2015 Email from K. McCoy       No                 VCLF-00020408 -
            to R. Ehrlich                                           VCLF-00020410
 356        9/12/2015 Email from K. McCoy to     No                 TEN0018503 -
            T. Clarke                                               TEN0018504
 357        9/13/2015 Email from K. McCoy to     No                 TEN0018531 -
            T. Clarke                                               TEN0018533
 358        10/6/2015 Email from C. Childers     Yes: hearsay       VCLF-00020094
            to K. McCoy
 359        10/8/2015 Email from K. McCoy to     No                 VCLF-00020104
            T. Clarke
 360        10/16/2015 Email from P. Potter to   No                 VCLF-00175577 -
            K. McCoy and others                                     VCLF-00175578
 361        10/9/2015 Email from R. Ehrlich to   No                 VCLF-00020160 -
            K. McCoy                                                VCLF-00020161
 362        10/19/2015 Email from B. Murphy      Yes: hearsay       VCLF-00076856
            to K. McCoy
 363        10/19/2015 Email from B. Murphy      Yes: hearsay       TEN0027959
            to R. Lattouf
 364        10/11/2015 Email from T. Clarke      No                 VCLF-00020350 -
            to Z. Messenger                                         VCLF-00020351
 365        10/19/2015 Email from B. Murphy      Yes: hearsay       VCLF-00076472 -
            to K. McCoy                                             VCLF-00076478
 366        10/23/2015 Email from T. Clarke      No                 VCLF-00087581 -
            to K. McCoy, J. McCoy                                   VCLF-00087582
 367        10/28/2015 Email from K. McCoy       No                 VCLF-00102926
            to T. Clarke
 368        10/15/2015 Email from D. Baxter      No                 VCLF-00174779 -
            to T. Clarke                                            VCLF-00174780
 369        10/23/2015 Email from P. Potter to   No                 VCLF-00182962 -
            T. Clarke                                               VCLF-00182963




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  Exhibit              Description                     VCLF’s            BegBates and
   No.                                             Objections Other       EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
 370        10/25/2015 Email from P. Potter to     No                   VCLF-00183984 -
            A. Troop                                                    VCLF-00183986
 371        10/21/2015 Email from P. Potter to     No                   IM-00013301 -
            J. Bernbrock                                                IM-00013305
 372        Citi Pension Liability Index           Yes: not
                                                   authenticated, not
                                                   produced during
                                                   fact discovery
 373        WV & KY LDFs                           Yes: not
                                                   authenticated, not
                                                   produced during
                                                   fact discovery
 374        R. Ehrlich Hand notes                  Yes: not             BDCF-00081997 -
                                                   authenticated,       BDCF-00082140
                                                   hearsay
 375        2015 Agreement between The             No                   VCLF-00137064 -
            United Mine Workers of America                              VCLF-00137210
            and ERP Federal Mining Complex,
            LLC
 376        11/13/2009 PNC Bank Irrevocable        No                   BDCF-00066505 -
            Standby Letter of Credit for                                BDCF-00066513
            Applicant Patriot Coal Corp.
 377        5/3/2010 Bank of America               No                   BDCF-00066514 -
            Irrevocable Standby Letter of                               BDCF-00066518
            Credit for Applicant Patriot Coal
            Corp.
 378        11/5/2007 Bank of America              No                   BDCF-00066520 -
            Irrevocable Standby Letter of                               BDCF-00066526
            Credit for Applicant Patriot Coal
            Corp.
 379        11/6/2007 Fifth Third Bank Letter      No                   BDCF-00066527 -
            of Credit for Applicant Patriot Coal                        BDCF-00066528
            Corp.
 380        11/5/2007 Bank of America              No                   BDCF-00066529 -
            Irrevocable Standby Letter of                               BDCF-00066535
            Credit for Applicant Patriot Coal
            Corp.




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  Exhibit              Description                     VCLF’s           BegBates and
   No.                                             Objections Other      EndBates
                                                   than FRE 402 or
                                                     403 (Yes/No)
 381        2/18/2015 Deutsche Bank                No                  BDCF-00066536
            Irrevocable Letter of Credit for
            Applicant Patriot Coal Corp.
 382        3/4/2015 Deutsche Bank                 No                  BDCF-00066537
            Amendment to Irrevocable Standby
            Letter of Credit
 383        12/19/2014 Deutsche Bank               No                  BDCF-00066540 -
            Irrevocable Letter of Credit for                           BDCF-00066542
            Applicant Patriot Coal Corp.
 384        11/5/2007 Bank of America              No                  BDCF-00066544 -
            Irrevocable Standby Letter of                              BDCF-00066548
            Credit for Applicant Patriot Coal
            Corp.
 385        10/21/2015 Email from M. Mueller       No                  BDCF-00075312 -
            to A. Harris and others                                    BDCF-00075394
 386        10/9/2015 Email from R. Ehrlich to     No                  VCLF-00057886 -
            K. McCoy                                                   VCLF-00057892
 387        9/22/2015 Email from R. Ehrlich to     No                  BDCF-00025928 -
            R. Lattouf                                                 BDCF-00025952
 388        10/28/2015 Notice of (I)               No
            Confirmation of the Debtors’
            Chapter 11 Plan of Reorganization,
            (II) Occurrence of the Effective
            Date, and (III) Related Bar Dates, ,
            In re Patriot Coal Corp., Case No.
            15-32450 (Dkt. No. 1751)
 389        Robert Briscoe Work File               Yes: not
                                                   authenticated,
                                                   hearsay, VCLF’s
                                                   Motion to Exclude
                                                   the Testimony of
                                                   Robert Briscoe
 390        BDCM website screenshots:              Yes: not
            Welcome, About Us, Our Values,         authenticated,
            Our Investment Philosophy,             hearsay, VCLF’s
            Contact Us                             Motion to Exclude
                                                   the Testimony of
                                                   Robert Briscoe,
                                                   VCLF’s Motion in
                                                   Limine


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  Exhibit              Description                    VCLF’s          BegBates and
   No.                                            Objections Other     EndBates
                                                  than FRE 402 or
                                                    403 (Yes/No)
 391        6/22/2017 Transcript of Hearing on    No
            Debtors' Motion for Entry of an
            Order, In re Patriot Coal Corp.,
            Case No. 15-32450 (Dkt. No. 2564)
 392        6/8/2017 Liquidating Trustee's        No
            Motion Seeking Approval to Sell
            Rights to Contingent Future
            Surplus Security for Payment of
            Workers' Compensation
            Obligations Free and Clear of All
            Liens, Claims, and Interests, In re
            Patriot Coal Corp., Case No. 15-
            32450 (Dkt. No. 2553)
 393        6/27/2017 Order Granting              No
            Liquidating Trustee's Motion
            Seeking Approval to Sell Rights to
            Payments Relating to Contingent
            Future Surplus Workers'
            Compensation, In re Patriot Coal
            Corp., Case No. 15-32450 (Dkt.
            No. 2566)
 394        [Intentionally blank]
 395        10/26/2015 Email from B. Murphy       Yes: hearsay       VCLF-00174104 -
            to J. Whitney and others                                 VCLF-00174110
 396        10/15/2015 Email from R. Lattouf      No                 BDCF-00050487
            to S. Deckoff and others
 397        9/18/2015 Notice of Filing of         No
            Fourth Amended Disclosure
            Statement for Debtors’ Fourth
            Amended Joint Plan of
            Reorganization, In re Patriot Coal
            Corp., Case No. 15-32450 (Dkt.
            No. 1333)
 398        10/22/2015 Email from P. Potter to    No                 VCLF-00085610 -
            R. Kwasteniet                                            VCLF-00085614
 399        8/31/2015 Email from R. Ehrlich to    No                 BDCF-00018025 -
            S. Deckoff and others                                    BDCF-00018047
 400        Motion to Dismiss Defendants          No
            Kentucky Coal Employers’ Self-
            Insurance Guaranty Fund and the


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  Exhibit              Description                    VCLF’s          BegBates and
   No.                                            Objections Other     EndBates
                                                  than FRE 402 or
                                                    403 (Yes/No)
            Commonwealth of Kentucky,
            Labor Cabinet, Department of
            Workers Claims, or Alternatively
            To Transfer Venue To The United
            States District Court For The
            Eastern District Of Kentucky And
            Memorandum In Support, Davis v.
            Commonwealth of Kentucky, Case
            No. 16-03348 (Dkt. No. 5)
 401        Response to Loss Portfolio            No
            Transfer Offer, dated September
            28, 2016, In re Patriot Coal Corp.,
            Case No. 15- 32450 (Dkt. No.
            2376-2)
 402        Response to Loss Portfolio            No
            Transfer Offer, dated September
            29, 2016, In re Patriot Coal Corp.,
            Case No. 15- 32450 (Dkt. No.
            2376-3)
 403        10/24/2016 Transcript of Hearing      No
            on Debtors’ Motion for Entry of an
            Order, In re Patriot Coal Corp.,
            Case No. 15-32450 (Dkt. No. 2392)
 404        10/22/2015 Email from Z.              Yes: hearsay       BDCF-00076174 -
            Messenger to R. Lattouf, B. Murphy                       BDCF-00076177
 405        10/23/2015 Email from R. Lattouf      No                 BDCF-00076594 -
            to R. Ehrlich                                            BDCF-00076596
 406        9/20/2015 Email from T. Clarke to     No
            J. McCoy re: Re: patriot deal
 407        9/23/2015 Email from J. McCoy to      No
            G. Chamblee re: Re: coal update
 408        10/26/2015 Email from T. Clarke       No                 VCLF-00090112 -
            to B. Bennett                                            VCLF-00090114
 409        10/26/2015 Email from B. Bennet       Yes: hearsay       VCLF-00090139
            to T. Clarke
 410        9/29/2015 Email from T. Clarke to     Yes: hearsay       VCLF-00056183 -
            R. Dombrowski                                            VCLF-00056185
 411        10/11/2015 Email from R.              Yes: hearsay       CENTERVIEW_B
            Dombrowski to T. Clarke                                  D_0000050 -



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  Exhibit             Description                  VCLF’s            BegBates and
   No.                                         Objections Other       EndBates
                                               than FRE 402 or
                                                 403 (Yes/No)
                                                                    CENTERVIEW_B
                                                                    D_0000052
  412       10/3/2015 Email from R.            Yes: hearsay         AMBD0002267 -
            Dombrowski to T. Clarke                                 AMBD0002268
  413       10/24/2015 Email from R.           No                   AMBD0003443 -
            Dombrowski to A. Lee                                    AMBD0003446
  414       10/22/2015 Email from T. Clarke    No                   BDCF-00076089 -
            to A. Harris                                            BDCF-00076094


                                          Respectfully submitted,

 Dated: May 29, 2018                        /s/ Patrick J. Potter
        McLean, Virginia                  Patrick J. Potter (VSB No. 39766)
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                                          McLean, Virginia 22102-4856
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                                          Facsimile: (703) 770-7901
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                                          PILLSBURY WINTHROP SHAW PITTMAN LLP
                                          1200 Seventeenth Street, NW
                                          Washington, DC 20036-3006
                                          Telephone: (202) 663-8027
                                          Facsimile: (202) 663-8007
                                          E-mail: wsullivan@pillsburylaw.com

                                          Andrew M. Troop (admitted pro hac vice)
                                          Samuel S. Cavior (admitted pro hac vice)
                                          Joshua I. Schlenger (admitted pro hac vice)
                                          PILLSBURY WINTHROP SHAW PITTMAN LLP
                                          1540 Broadway
                                          New York, New York 10036-4039
                                          Telephone: (212) 858-1000
                                          Facsimile: (212) 858-1500
                                          E-mail: andrew.troop@pillsburylaw.com

                                          Counsel to Virginia Conservation Legacy Fund,
                                          Inc. and ERP Compliant Fuels, LLC


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                                CERTIFICATE OF SERVICE

        I hereby certify that, on May 29, 2018, I filed the foregoing VCLF’S Objections to the

 Trial Exhibits of Black Diamond Commercial Finance, LLC by uploading it to this Court’s

 CM/ECF system, which will send notification of such filing to all CM/ECF participants, and that

 I served a copy on opposing counsel of record in this adversary proceeding by email.

                                                      /s/ Patrick J. Potter
                                                              Patrick J. Potter




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